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                                              No. 25-2935
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                                 IN THE UNITED STATES COURT OF APPEALS
                                         FOR THE NINTH CIRCUIT


                                              EPIC GAMES, INC.,
                                                              Plaintiff-Appellee
                                                       v.

                                               APPLE INC., et al.,
                                                            Defendant-Appellant

                             On Appeal from the United States District Court for the
                          Northern District of California (Hon Yvonne Gonzalez Rogers)
                                             No. 4:20-cv-05640-YGR


                      BRIEF OF INTERNATIONAL CENTER FOR LAW AND
                 ECONOMICS AS AMICUS CURIAE ON BEHALF OF DEFENDANT-
                                     APPELLANT


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                                       INTEREST OF AMICUS CURIAE

                    The International Center for Law & Economics (“ICLE”) 1 is a nonprofit,

             non-partisan global research and policy center aimed at building the intellectual

             foundations for sensible, economically grounded policy. ICLE promotes the use of

             law and economics to inform policy debates and has longstanding expertise

             evaluating antitrust law and policy.

                    ICLE has an interest in ensuring that antitrust law promotes the public

             interest by remaining grounded in sensible rules informed by sound economic

             analysis. That includes fostering consistency between antitrust law and other laws

             that proscribe unfair methods of competition, such as California’s Unfair

             Competition Law, and advising against far-reaching injunctions that could

             deteriorate the quality of mobile ecosystems, thereby harming the interests of

             consumers and app developers.

                                       SUMMARY OF ARGUMENT

                    The District Court’s Order would enjoin Apple from charging “any

             commission or fee” on various purchases facilitated by Apple’s platform and in-

             app purchasing (IAP) mechanism. Epic Games, Inc. v. Apple Inc., No. 4:20-cv-

             05640-YGR (N.D. Cal. Apr. 30, 2025), ECF No. 1508 (“Order”). The Order


                    1
                      No counsel for a party contributed to authoring this brief, and no party
             made a monetary contribution intended to fund the preparation or submission of
             this brief. See Fed. R. App. P. 29(a)(4)(E).

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             claims this is required to prevent Apple from “maintaining an anticompetitive

             revenue stream,” id. at 75, or “reap[ing] supracompetitive operating margins” or

             “profits” that are “not tied to the value of its intellectual property, and thus …

             anticompetitive.” Id. at 2.

                    The Order would impose numerous and complex duties to deal that were

             not identified in the previous injunction and have not been shown necessary to

             prevent foreclosure. Instead, the Order reflects a maximalist interpretation of the

             initial injunction—requiring micromanagement of Apple’s platform and dictating

             that Apple must offer business users free access to its ecosystem.

                    At the same time, the Order would effectively obviate various of Apple’s

             legal business practices, including steps Apple might take to protect the integrity

             and security of its platform and IAP, the privacy and data security of consumers

             who use the Apple ecosystem, and the value of its intellectual property, all of

             which were previously identified by this Court as legitimate. See Epic Games, Inc.

             v. Apple, Inc., 67 F.4th 946, 971 (9th Cir. 2023), cert. denied, 144 S. Ct. 681

             (2024).

                    While the original injunction did not interfere with “Apple’s business

             justifications [which] focus on other parts of the Apple ecosystem and will not be

             significantly impacted by the increase of information to and choice for

             consumers,” Epic Games, Inc. v. Apple Inc., 559 F.Supp.3d 898, 1057 (2021)



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             (“Epic v. Apple”), the Order is premised on an interpretation of the initial

             injunction that is no longer a “limited measure [that] balances the justification for

             maintaining a cohesive ecosystem with the public interest….” Id. Rather, it

             imposes complex, long-running duties to deal that are unsupported by the record

             and inconsistent with the relevant jurisprudence and the Supreme Court’s repeated

             caution that antitrust courts are not central planners.

                                                   ARGUMENT

                 I.       Antitrust Courts are Not Central Planners or Price Regulators

                      The Order’s compelled access remedy raises serious practical and legal

             concerns. Forcing firms to provide rivals with the “source of their advantage is in

             some tension with the underlying purpose of antitrust law,” because it risks

             chilling investment and turning courts into regulators of ongoing business

             relations. Verizon Comm’ns Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S.

             398, 407–408 (2004) (“Trinko”). The Supreme Court has long cautioned against

             such remedies. See, e.g., Nat’l Collegiate Athletic Ass’n v. Alston, 141 S.Ct. 2141

             (2021) (“Alston”); Pac. Bell Tel. Co. v. linkLine Comm’ns, Inc., 555 U.S. 438

             (2009) (“linkLine”); Trinko.

                      The Trinko Court warned against enforced sharing precisely because it would

             require “courts to act as central planners, identifying the proper price, quantity,

             and other terms of dealing—a role for which they are ill suited.” Trinko, 540 U.S.



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             at 408. Antitrust law does not generally require a monopolist to aid its competitors

             by sharing infrastructure or data because such forced sharing “may lessen the

             incentive for the monopolist, the rival, or both to invest” in valuable innovations.

             Trinko, 540 U.S. at 408. The linkLine Court clarified that Trinko encompasses

             pricing obligations like those imposed here, noting that enforcement of such a

             duty “would require courts simultaneously to police both the wholesale and retail

             prices” while “aiming at a moving target….” linkLine, 555 U.S. at 453 (citing

             Trinko, 540 U.S. at 408).

                   Courts must be cautious in fashioning remedies that impose such duties, lest

             they “wind up impairing rather than enhancing competition, impose costs that

             ‘exceed efficiencies gained,’” and “suppress procompetitive innovation.” Alston,

             594 U.S. 69, 102 (2021) (quoting Trinko, 540 U.S. at 415). Compelled-access

             remedies raise serious practical and legal concerns, as they risk chilling

             investment, while turning courts into regulators of ongoing business relations.

                 II.      The Order Ignores the Supreme Court’s Repeated Repudiation of
                          Complex and Burdensome Duties to Deal

                       Such risks plainly are raised by the Order, which enjoins Apple from, inter

             alia, “[i]mposing any commission or any fee” on linked transactions, Order at 75,

             notwithstanding that “the Court did not select a rate,” Id. at 58, and that “Apple is

             entitled to … guard against the uncompensated use of its intellectual property.”



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             Epic v. Apple, 559 F.Supp.3d at 1042. The factual recitations in the Order reveal

             the uncertainty Apple confronted in identifying a price for linked-out transactions

             that would comport with the original injunction. See, e.g., Order at 21.

                    The purported justification for a zero-price requirement is that the District

             Court had “found that ‘Apple’s 30% commission … allowed it to reap

             supracompetitive operating margins’ and was not tied to the value of its

             intellectual property, and thus, was anticompetitive.” Id. at 2. While imposing a

             specific commission might resolve the uncertainty, the District Court’s analysis

             highlights the difficulty of administering such duties-to-deal and the arbitrariness

             of its zero price mandate.

                    The Order notes that Apple “never correlated the value of its intellectual

             property to the commission it charges.” Order at 7. But what would such a

             correlation entail, and why would it be required of Apple? Typically, the price

             system tests the value of intellectual property. Antitrust law recognizes that even

             monopoly can arise “as a consequence of a superior product, business acumen, or

             historic accident.” United States v. Grinnell Corp., 384 U.S. 563, 571 (1966). For

             that reason, antitrust law does not condemn monopoly itself. Id. at 570–71; see

             also Trinko, 540 U.S. at 407–08.

                    It is conceivable that some price could be found exclusionary, foreclosing

             competition to an extent prohibited by, e.g., Section 2 of the Sherman Act. But



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             given the benefits of Apple’s platform and IAP and the need to maintain

             incentives for future investment, competition cannot require a rate of zero percent.

             Apart from a conclusory declaration that a 27% commission for linked purchases

             is anticompetitive, neither the Order nor Epic v. Apple provides any analysis of a

             price threshold at which a commission would become exclusionary.

                    Further, attempting to maximize profits within the confines of an injunction

             cannot be a violation. Yet the District Court concluded that Apple’s efforts to do

             so were inherently anticompetitive. See, e.g., Order at 17. This Court has

             admonished such conflating of “the desire to maximize profits with an intent to

             ‘destroy competition itself.’ … [T]he goal of antitrust law is not to force

             businesses to forego profits or even ‘[t]he opportunity to charge monopoly prices,’

             which is ‘what attracts “business acumen” in the first place.’” Fed. Trade Comm’n

             v. Qualcomm Inc., 969 F.3d 974, 990, 994, fn. 15 (9th Cir. 2020) (internal

             quotation and citation omitted)) (“Qualcomm”).

                    Seeking to ground its conclusion that Apple’s compliance efforts were

             anticompetitive, the District Court contends that summing Apple’s 27% rate and

             other costs entails that linked-out commission costs would exceed Apple’s 30%

             IAP commission. It thus finds that Apple’s linked-out commission “forecloses

             competitive alternatives.” Order at 60 (emphasis in original). The Court bases its

             conclusion of a violation on a “price squeeze” claim—asserting that, by pricing its



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             own alternative (IAP at 30%) lower than the effective price required by its linked-

             out commission, Apple effectively eliminates the linked-out option as a

             competitive alternative.

                    But “[r]ecognizing price-squeeze claims would require courts

             simultaneously to police both the wholesale and retail prices to ensure that rival

             firms are not being squeezed.” linkLine, 555 U.S. at 453. This would compound

             the enforcement problems inherent in duties to deal because “courts would be

             aiming at a moving target, since it is the interaction between these two prices that

             may result in a squeeze.” Id.

                    The Order exemplifies the problem: the District Court contends that

             Apple’s linked-out commission violates its prior injunction because of the

             interaction between Apple’s commission and developers’ other costs. To

             determine when that interaction effectively forecloses linked-out transactions thus

             depends on external payment processing (and other) costs over which Apple has

             no control—costs that are certain to vary across developers, apps, and times. It

             also depends on app developers’ choice of payment processors. For virtually any

             commission Apple might set, a developer could choose a payment processor with

             fees that, combined with Apple’s commission, exceed 30%. This moving target

             precludes Apple’s ability to identify the price that would comply with the Order—




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             precisely the scenario that the linkLine Court found “perhaps most troubling.” Id.

             at 453.

                    LinkLine explains why that is untenable: “[H]ow is a judge or jury to

             determine a ‘fair price?’ Is it the price charged by other suppliers of the primary

             product? None exist. Is it the price that competition ‘would have set’ were the

             primary level not monopolized? How can the court determine this price without

             examining costs and demands, indeed without acting like a rate-setting regulatory

             agency, the rate-setting proceedings of which often last for several years? Further,

             how is the court to decide the proper size of the price ‘gap?’ Must it be large

             enough for all independent competing firms to make a ‘living profit,’ no matter

             how inefficient they may be? … And how should the court respond when costs or

             demands change over time, as they inevitably will?” Linkline, 555 U.S. at 454

             (internal citation omitted).

                    These concerns apply in spades when a duty to deal arises from a judicially-

             ordered injunction, the violation of which threatens criminal contempt. “‘No court

             should impose a duty to deal that it cannot explain or adequately and reasonably

             supervise. The problem should be deemed irremedia[ble] by antitrust law when

             compulsory access requires the court to assume the day-to-day controls

             characteristic of a regulatory agency.’” LinkLine, 555 U.S. at 453 (quoting Trinko,

             540 U.S. at 415).



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                       The District Court’s rationale for what is manifestly rate setting is opaque.

             Antitrust law does not prohibit supracompetitive pricing in itself; and it recognizes

             that intellectual property rights are predicated on the promise of supracompetitive

             pricing, which provide incentives to make fixed-cost investments in research and

             development. See Trinko, 540 U.S. at 407-08; Qualcomm, 969 F.3d at 994. The

             District Court’s stipulation of a zero-price commission ignores the difficulty of

             setting any price that will remedy prior (allegedly exclusionary) conduct,

             compensate for Apple’s intellectual property, or account for an allegedly

             anticompetitive price differential (the extent of which is partly determined by the

             pricing decisions and conduct of non-parties).

                III.      The Order is not Tailored to the Harm Found at Trial

                       As the D.C. Circuit has observed, “relief should be tailored to fit the wrong

             creating the occasion for the remedy.” United States v. Microsoft, 253 F.3d 34, 107

             (D.C. Cir. 2001) (“Microsoft”); and it “must base its relief on some clear

             ‘indication of a significant causal connection between the conduct enjoined or

             mandated and the violation found directed toward the remedial goal intended.’” Id.

             at 105 (citation omitted).

                       The District Court insists that its order “require[s] no affirmative action on

             Apple’s part,” Order at 76, implying that no further findings are required. But this

             strains credulity. First, the practices enjoined—including the charging of any


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             positive price for linked-out payments—were not found unlawful at trial, and there

             is no explanation in the Order of how they remediate the finding of a UCL

             violation. At the same time, there is no practical way for Apple to comply with the

             Order without undertaking numerous and considerable affirmative actions, or to do

             so without risk to its IAP, its platform, and the consumers who choose to use them.

             In addition, the Order goes significantly further than the original injunction: It not

             only requires that Apple eliminate practices that prevent competition with IAP, but,

             in effect, requires the creation of a frictionless steering experience for the benefit

             of competitors—and to do so for free. Order at 75–6.

                    Remedies should target specific anticompetitive acts without deterring the

             competitive process that benefits consumers. See, e.g., Microsoft, 253 F.3d at 107;

             see also Herbert J. Hovenkamp, Structural Antitrust Relief Against Digital

             Platforms, 7 J. LAW & INNOVATION 57, 64 (2024). To ignore this principle

             risks doing more harm than good. “Fashioning appropriate equitable antitrust relief

             requires that courts balance the benefit to competition against the hardship or

             competitive disadvantage the remedy may cause.” Ginsburg v. InBev NV/SA, 623

             F.3d 1229, 1235 (8th Cir. 2010).

                    The history of antitrust remedies shows that they fail precisely when they

             overindex on harms and ignore the benefits that may also arise from ambiguous

             conduct and complex market structures. See generally Robert W. Crandall &



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             Kenneth G. Elzinga, Injunctive Relief in Sherman Act Monopolization Cases, 21

             RES. LAW AND ECON. 277, 335–37 (2004) (studying effects of behavioral

             remedies imposed in ten major monopolization cases). “Without a firm grasp of the

             economic forces that are driving changes in market structure, [courts] cannot be

             expected to design ‘relief’ that will result in increased competition, lower prices,

             and consumer benefits.” Id. at 335.

                    The Order also ignores the competitive and consumer benefits of Apple’s

             relatively “closed” distribution model, which allows Apple to curate the App

             Store’s apps and payment options. For example, categorically and permanently

             enjoining Apple from excluding “certain categories of apps and developers from

             obtaining link access” significantly impairs Apple’s ability to protect consumers

             against fraudulent apps. Prohibiting Apple from placing any restrictions on apps

             that “pass[] on product details, user details or other information that refers to the

             user …” ignores the risks to privacy and personal data that such practices can

             entail. Likewise, prohibiting Apple from requiring “anything other than a neutral

             message apprising users that they are going to a third-party site” prevents Apple

             from excluding undesirable or harmful language on its platform. Apple’s App

             Store guidelines address these concerns by excluding apps that pose data security

             threats, threaten to impose physical harm on users, or undermine child-safety

             filters. These rules increase trust between users and previously unknown



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             developers and reduce user fears about payment fraud. Yet the Order does not

             weigh the costs and benefits of such restrictions or question whether they are

             necessary to remedy a violation of California law.

                    There is also a serious risk of freeriding. Rivals could mimic Apple’s

             curation while undercutting it on price. This would not enhance competition on the

             merits, but eviscerate it, by eroding Apple’s incentives to enforce such rules. To

             impose a zero price on linked-out transactions effectively assumes that the

             appropriate level of curation is itself zero. But that cannot be correct: Apple’s

             closed business model enables it to maintain a high standard of performance on

             iOS by excluding apps and payment systems that might impair it, ensuring that

             unscrupulous developers cannot impose negative externalities on the entire

             ecosystem.

                    Date: May 14, 2025



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                                                     International Center for Law & Economics




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                                       CERTIFICATE OF SERVICE

                    On May 14, 2025, this brief was served via CM/ECF on all registered

             counsel and transmitted to the Clerk of the Court.

                                                                  By: /s/ Sara T. Schneider
                                                                          Sara T. Schneider




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